DELANEY WILES, INC.
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Attorneys for Plaintiff FEB 9 7 2020

  

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IN THE UNITED STATES DISTRICT cour, US S. DISTRIC

FOR THE DISTRICT OF ALASKA
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CB 31[-SbE
Case V0

CONOCOPHILLIPS ALASKA, INC.,
Plaintiff,
v.

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)
FORREST WRIGHT; AMANDA WRIGHT: )
NATHAN KEAYS; KELLY KEAYS; )
ECO EDGE ARMORING, LLC; DAVID )
BENEFIELD; WRIGHT CAPITAL )
INVESTMENTS, LLC; and DB OILFIELD )
SUPPORT SERVICES, )
Defendants. )
) Case No.

 

 

Amended AKaxwer [0 Cemp)arut

COMPLAINT
Forrest Wright, a former employee of ConocoPhillips Alaska Inc. (hereinafter
“ConocoPhillips), defrauded his employer out of millions of dollars by securing payments for
non-existent goods and services from ConocoPhillips to companies he and/or his co-conspirators
controlled.! The scheme extended over many months and many separate invoices, and there are

likely ongoing plans to continue the scheme, through more fake companies and fraudulent

 

' Forrest Wright resigned with short notice from ConocoPhillips last Thursday, December 5, 2019.

Complaint Page 1 of 18
ConocoPhillips Alaska, Inc. v. Forrest Wright and Amanda Wright, Case No. : Cl

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1. ConocoPhillips Alaska Inc., (“ConocoPhillips s”) is a corporation organized and in good standing under the

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laws of the State of Alaska with its principal place of business in Anchorage.

Defendant is without sufficient information to admit or deny the allegations contained in paragraph
1 of Plaintiff’s Complaint. Those allegations are therefor denied.

Forest Wright is a resident of Anchorage, Alaska.
Amanda Wright is a resident of Anchorage Alaska.
Upon information and belief Forrest and Amanda Wright are husband and wife.

Defendant admits the allegations contained in paragraphs 2,3 & 4 of Plaintiff's Complaint

Wright Capital Investments, LLC is a limited liability company organized in the State of Nevada, wholly
owned by Forrest Wright and Amanda Wright.

Defendant is without sufficient information to admit or deny the allegations contained in paragraph
5 of Plaintiff's Complaint. Those allegations are therefor denied.

DB Oilfield Support Services is an unincorporated entity the holds Alaska business license number 2086140.
It represent itself to be located in Webber Falls, Ok. And to be owned by David Benfield.

Defendant admits the allegations contained in paragraph 6 of Plaintiff’s Complaint

David Benefield represented himself to ConocoPhillips to be the president of DB Oilfield Support Services
and that he lives in Fairbanks, Alaska. Upon information and belief he IS THE FATERH OF Amanda
Wright.

Defendant denies the allegations contained in paragraph 7 of Plaintiff’s Complaint

Nathan Keays is an Anchorage Police Officer, and a resident of Anchorage:
Kelly Keays is resident of Anchorage, Alaska.

Defendant admits the allegations contained in paragraph 8 & 9 of Plaintiff's Complaint

Upon information and belief, Nathan Keays and Kelly Keays are husband and wife.

Eco Edge Armoring, LLC (‘Eco Edge") is a corporation organized under the laws of the State of Alaska
and owned and managed by Nathan Keays and Kelly Keays
Jurisdiction in this court is proper under 18 U.S.C. § 1964; 28 U.S.C. § 1331;and 28 U.S.C. § 1367(a).

Venue is proper in this judicial under 28 U.S.C. § 1391 because the most substantial part of the
events giving rise to this claim occurred in Anchorage, AK.

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In his position as Senior Drilling and Wells Planner Forrest Wright had the authority to propose
suppliers to become "approved vendors “for ConocoPhillips. Only approved vendors can sell materials
and provide services to ConocoPhillips.

In his position Forrest Wright had the authority to requisition materials and services for purchase

and use by ConocoPhillips.

Forrest Wright and Amanda Wright conspired among themselves and with others to defraud
ConocoPhillips. The conspiracy involved having Forrest Wright propose two businesses-DB
Oilfield Support Services and Eco J;dge Armoring, LLC+to be approved as vendors to
ConocoPhillips and submit fraudulent information to obtain such approval. DB Oilfield Support
Services was purportedly owned by David Benefield, who is Amanda Wright's father. Eco Edge
Armoring, LLC was owned by Nathan Keays and Kelly Keays. Oilfield Support Services was
purportedly owned by David Benefield, who is Amanda Wright's father. Eco Edge Armoring, LLC was
owned by Nathan Keays and Kelly Keays.

Defendant is without sufficient information to admit or deny the allegations contained in paragraph
10,11, 12, 13, 14, 15,16 & 17 of Plaintiff’s Complaint. Those allegations are therefor denied.

 

Forrest Wright, with the assistance of the other co-conspirators/defendants arranged for bids to be
submitted to ConocoPhillips from DB Oilfield Support Services for pipe racks, inspection shelters and
other goods. Forrest Wright, with the assistance of the other co- conspirators/defendants also arranged
for bids to be submitted to ConocoPhillips from Eco Edge to provide materials and services to
ConocoPhillips. Forrest Wright and the other defendants knew that the materials and goods did not
exist and would never be provided, and that the services would never be provided.

Defendant denies the allegations contained in paragraph 18 of Plaintiff’s Complaint

After DB Oilfield Support Services and Eco Edge became approved vendors and Forrest Wright arranged for
ConocoPhillips to issue purchase orders for materials and services. DB Oilfield Support Services and Eco Edge
then submitted invoices for work never done and/or goods never delivered. Forrest Wright, through fraud and
misrepresentation, convinced others at ConocoPhillips to approve payment of the invoices.

Defendant is without sufficient information to admit or deny the allegations contained in
paragraph 19 thru 50_ of Plaintiff's Complaint. Those allegations are therefor denied.

On March 1,2019Nathan Keays wrote an email to Forrest Wright proposing that Eco Edge be hired

to pelform pipe inspection services for ConocoPhillips at the Fairbanks railroad yard, at a rate of

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On March 5, 2019 Forrest Wright proposed Eco Edge become an approved vendor to ConocoPhillips.

Forrest Wright obtained approval from ConocoPhillips to hire Eco Edge at the rate of $2,075 per day.

Between March 11,2019and October 1,2019, Eco Edge submitted eight separate invoices for pipe
inspection services totaling $439,930.

Eco Edge provided no services for ConocoPhillips at the Fairbanks railroad yard. Employees of the
Alaska Railroad state that they never heard of Eco Edge or encountered any individuals performing

the services that Eco Edge was supposed to be providing. On April 14,2019 Nathan Keays wrote an

email to Forrest Wright stating that Eco Edge had available 11,000 feet of 22" joints 2 made by
Sumitomo Corporation that his supplier has at "liquidation" prices of $88.5/foot. Nathan Keays

stated the pipe was located at Unique Machine in Anchorage.

Sumitomo does not make 22" joints of the type Eco Edge claimed to have available. Unique
Machine does not and never did have 11,000 feet of 22"joints. That amount of pipe would be

approximately 44 truckloads, an amoup.t Unique Machine employees surely would have noticed.

Forrest Wright proposed to ConocoPhillips that ConocoPhillips purchase the 22" joints from Eco
Edge.

To convince ConocoPhillips to purchase the 22" joints from Eco Edge, Forrest Wright created a
fictitious email exchange with Pat Hanley, president of Cal IV Pipe, Inc. This exchange purported to
show Mr. Hanley quoting a price of $225/ft for the same type of joints from the same manufacturer.

Eco Edge submitted two invoices to ConocoPhillips for selling and delivering the non-existent 22"pipe, in
the amounts of $974,474 and $495,600.

Forrest Wright through fraud and misrepresentation convinced others at ConocoPhillips to

approve payment of those invoices and others.

Eco Edge is as of this date still submitting fraudulent time sheets for purported work done in an

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The following payments were made from ConocoPhillips to Eco Edge. There are other invoices

pending which ConocoPhillips has not paid. There may be others not listed here:

The following payments were made from ConocoPhillips to Eco Edge. There are other invoices
pending which ConocoPhillips has not paid. There may be others not listed here: In furtherance of the
scheme to defraud ConocoPhillips, on April 23,2019 Forrest Wright sent an email to "David" at DB
Oilfield Support Services asking about a pipe racking system. Forrest Wright and "David
"exchanged a series of emails purporting to be negotiations. Upon information and belief "David"

was David Wayne Benefield Amanda Wright's father and Forrest Wright's father-in-law.

On April 26, 2019 Forrest Wright proposed to ConocoPhillips that ConocoPhillips approve
DB Oilfield Support Services to become an authorized vendor.
Over a period of months, beginning in April, 2019 Forrest Wright directed various material personnel

under him to create purchase requisitions for pipe, pipe racks and inspection equipment from DB
Oilfield Support Services.

DB Oilfield Support Servicesf;;;:rte following invoices to ConocoPhillips and received payment from

ConocoPhillips on the following dates:

 

 

 

 

 

 

 

 

 

Invoice # Date Amount Paid Date Paid
1901 | 5/6/2019 $990,000 5/13/20 19
1906 5/6/2019 $990,000 5113/2019
1913 5/9/2019 $990,000 5/20/20 19
1922 6/3/20 19 $462,000 6/28/2019
10012 8/23/20 9 $716,000 8/23/2019

 

 

 

 

The invoices from DB Oilfield Support Services were for adjustable pipe racks, cribbing and inspection
Case 3:19-cv-00311-SLG Document 50 Filed 02/27/20 Page 5 of 16
‘ ConocoPhillips to approve payment of these and other involces.

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There are no materials, tubing, cribbing, pipe racks or inspection shelters provided by
DB Oilfield Support Services at the Fairbanks railyard or anywhere else that could be located by
ConocoPhillips.

DB Oilfield Support Services has never delivered any materials or goods to ConocoPhillips.

DB Oilfield Support Services does not exist as a legal entity. DB Oilfield Support Services represented to
ConocoPhillips that it is based in Webbers Falls, Oklahoma

DB Oilfield Support Services obtained an Alaska business license only three days before Forrest Wright
proposed them as a vendor. The license names David Benefield as the owner of DB Oilfield Support
Services.

The name of the vendor contact supplied by DB Oilfield Support Services to ConocoPhillips is David
Benefield.

On April 27, 2019, the day after Forrest Wright requested DB Oilfield Support Services be approved as
a vender, Forrest Wright initiated an email exchange from his ConocoPhillips office computer witb. the
"Friendly Geek," an individual offering computer/IT services. Forrest Wright hired the Friendly Geek
to create organization charts, power point slideshow and a website for DB Oilfield Support Services.
Forrest Wright informed the Friendly Geek that the website was to be "more for show than practicality."

Upon information and belief and in furtherance of the conspiracy Forrest Wright and Amanda Wright
caused funds to be transferred_ from DB Oilfield Support Services to Wright Capital Investments, LLC.

. Forrest and Amanda Wright formed Wright Capital Investments, LLC, a Nevada limited liability

corporation on July 21, 2019.

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45. Forrest and Amanda Wright formed Wright Capital Investments, LLC, a Nevada limited liability corporation
on July 21, 2019.

46. On or around August 2019, Forrest Wright and Amanda Wright, through Wright Capital Investments, LLC
used some of the funds fraudulently obtained from ConocoPhillips to purchase in whole or part at least 17 separate
house in Las Vegas, NV with a total purchase price of $4,200,000,.00. The legal descriptions of those properties
are as follows:

a. APN 138-23-613-035
6233 Espinosa Avenue
Las Vegas, Nevada

b. APN 138-24-115-006

- 5908 W Bartlett Avenue
Las Vegas,

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c. APN 138-25-112-019
1524 Saylor Way Las Vegas, Nevada

d. APN 138-25-114-057
1400 Saylor Way Las Vegas, Nevada

e. APN 138-25-312-008
5824 Iris Avenue Las Vegas, Nevada

f. APN 138-25-314-039
5821 Halifax Avenue Las Vegas, Nevada

g. APN 138-34-711-027
716 Vincent Way Las Vegas, Nevada

h_ APN 138-34-712-050

609 Cline Street Las Vegas, Nevada

1. APN 138-35-7 11-036
501 Slayton Drive Las Vegas, Nevada

J. APN 138-36-120-029
5420 Banjo Street Las Vegas, Nevada

k. APN 139-08-411-011
3602 Gold Sluice Avenue North Las Vegas, Nevada

1.APN 139-19-213-079
4609 Sawyer Avenue Las Vegas, Nevada

m. APN 139-29-714-050
2149 Sleepy Court Las Vegas, Nevada

n. APN 139-30-318-007
721 Fairway Drive Las Vegas, Nevada

o. APN 140-22-314-028
1826 Green Acres Avenue Las Vegas, Nevada

p. APN 163-01-612-049
5201 Mountain View Drive Las Vegas, Nevada

q. APN 163-15-810-114
3973 Arrowood Drive Las Vegas, Nevada

47. Nathan Keays purchased two garage condominium units in Eagle River, AK on October 8, 2019,

legally described as:

Units 11 and 12, EAGLE RIVER GARAGES, as identified
in the declaration recorded May 22, 2019 in as Reception
No. 2019- 016602-0, and amendments thereto and as shown
on floor plans and as-built survey filed under Plat No. 2019-
43, in the office of the Recorder for the Anchorage
Recording District, Third Judicial District, State of Alaska.

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Nathan Keays paid cash for these properties. Upon ‘information and belief, the Keays used funds embezzled or
fraudulently obtained from ConocoPhillips to purchase these properties. A sign on the door of Unit 11 described

above says "Eco Edge Armoring, LLC"

48. On or around October 26, 2019 Nathan and Kelly Keays paid off the $145,350 mortgage on property that

they owned. legally described as:
Unit 106,79TH STREET GARAGETOWN PHASE 2, as identified
in the declaration recorded February 2,2016 as Reception No. 2016-
004204-0, and amendments thereto and as shown on floor plans and
as-built survey filed under Plat No. 2016-17, in the office of the

Recorder for the Anchorage Recording District, Third Judicial
District, State of Alaska

Upon information and belief the Keays used funds embezzled or fraudulently obtained from

ConocoPhillips to pay off this mortgage.

49. On or around March 22, 2019 Forrest Wright and Amanda Wright purchased property in Anchorage AK, legally
described as:

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Unit 29 of BOSTON SQUARE CONDOMINIUMS, as shown on the Floor Plans filed under Plat No. 200 1-35, located
~ in the Anchorage Recording District, Third Judicial District, State of Alaska and as described in the Declaration recorded

March 17,2000 in Book 3608 at Page 228 and Amendments thereto, if any.

50. Upon information and belief Forrest Wright and Amanda Wright have used funds embezzled or fraudulently
obtained from ConocoPhillips to make payments on the mortgage and/or maintain this property.

51. The allegations contained in the preceding paragraphs are incorporated as if fully set forth herein. No
allegations to Admit or Deny In.

52. ConocoPhillips has suffered injury by reason of defendants’ racketeering activity.
53. Defendants’ conduct constitutes’ an intentional scheme to defraud ConocoPhillips.

Defendant denies the allegations contained in paragraph 52, 53, 54, 55 ,56_& 57 of Plaintiff’s Complaint

54. Defendants acted together for the common purpose of embezzling money from and defrauding

ConocoPhillips.

55. The Defendants’ conduct in submitting false invoices, facilitating and receiving payment on the false
invoices, transferring the funds from one state to another and attempting to launder the money through real
estate purchases in Nevada, Alaska and elsewhere constitute racketeering activity as that term is defined in

18USC § 1961.

56. Defendants’ conduct violated 18 U.S.C. § 1341; 18U.S.C. § 1343; and 18U.S.C.§ 2314.

57. Defendants’ actions violated the National Stolen P.roperty Act, 18 USC § 2314. Defendants transferred
more than $4,000,000 across state,lines, from Alaska to a Nevada LLC and used the funds to purchase real

estate in Nevada.

58. Forrest Wright used interstate wire communications in furtherance of the illegal scheme in violation of 18U.S.C.
§ 1843.

59. On May 8, 2019 Forrest Wright sent an email from his computer in Alaska to Bonita Townsend, a
ConocoPhillips purchasing analyst in Houston and attached a sham quota from DB Oilfield Support Services in

orderto have the purchase order for non-existent pipe racks approved by ConocoPhillips.

60. Forrest Wright used ConocoPhillips’ computer system to make fraudulent representations to
ConocoPhillips employees located in Oklahoma. Based on these misrepresentations and others ConocoPhillips
employes in Oklahoma approved and/or paid for the transactions with DB Oilfield Support Services and Eco Edge.

61. Between July 19 and August 5, 2019 Forrest Wright used interstate wire communications to
communicate with Stephen Richards of Orange Realty Group of Las Vegas to arrange the purchase of real estate in

Nevada with the finds emhe7zzled fram CanacoPhillins

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62.Between May 9 and May 13, 2019, Forrest Wright used interstate wire communications to

- communicate with JJ Lehr of American Realty Properties to arrange the purchase of real estate in Nevada with

the funds embezzled from ConocoPhillips.

Defendant is without sufficient information to admit or deny the allegations contained in paragraph 58, 59,

60, 61, & 62 of Plaintiff’s Complaint. Those allegations are therefor denied.

63. Defendants’ conduct constitutes an open-ended scheme. Their criminal conduct will continue into the future.
As of this date, Nathan Keays of Eco Edge is seeking payment on invoices submitted for work not done and services

not rendered.

64. There is no evidence Defendants will ceas their racketeering activity ifForrest Wright is not terminated
from ConocoPhillips and their scheme interrupted by law enforcement.

Defendant denies the allegations contained in paragraph 63 & 64 of Plaintiff’s Complaint

65. The numerous separate invoices submitted by DB Oilfield Support Services and Eco Edge demonstrate that there

was repetition of criminal activity in reality, not just the threat of repetition.

66. The allegations contained in the preceding paragraphs are incorporated as if fully

Same as Phar S1

67. Forrest Wright was in a position of trust at ConocoPhillips.

68. Forrest Wright used this positon of trust to convert money that belonged to ConocoPhillips to his own
use.

Defendant is without sufficient information to admit or deny the allegations contained in paragraph 67 &
68 of Plaintiff’s Complaint. Those allegations are therefor denied.

69. Forrest Wright and the other defendants had the intention to defraud ConocoPhillips at all times
relevant here.

Defendant denies the allegations contained in paragraph 69 of Plaintiff’s Complaint

70. The allegations contained in the preceding paragraphs are incorporated as if fully set forth herein. Same as S1
71. Defendants represented to ConocoPhillips that goods and services had been supplied to ConocoPhillips

when they had not been supplied.

Defendant is without sufficient information to admit or deny the allegations contained in paragraph 71
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72. At the time Defendants presented invoices to ConocoPhillips Defendants knew that the goods and services for which

they demanded payment had not been supplied .

Defendant denies the allegations contained in paragraph 72 of Plaintiff's Complaint

73. At the time Defendant Forrest Wright through fraud and misrepresentation provided incorrect and misleading
facts to other ConocoPhillips employees to convince them to authorize payment of the invoices referenced above, he

knew that the goods and services had not been supplied to ConocoPhillips.

74. ConocoPhillips relied upon the representations made by Defendants and contained in the mvolces

and elsewhere and made payment to Defendants of at least $7,297,970.00.

75. ConocoPhillips has suffered direct monetary damages as the result of the fraud and misrepresentations made by

Defendants.

Defendant is without sufficient information to admit or deny the allegations contained in paragraph 73, 74,
75 & 77 of Plaintiff's Complaint. Those allegations are therefor denied.

76. The allegations contained in the preceding paragraphs are incorporated as if fully set forth herein. Same as S1

77. ConocoPhillips is the rightful owner of the funds paid to defendants for goods and services that were not

provided.

78. Defendants intentionally engaged in a scheme to deprive ConocoPhillips of possession of the funds paid for
goods and services that were not provided.

Defendant denies the allegations contained in paragraph 78 of Plaintiff's Complaint

79. Defendants have deprived ConocoPhillips of the possession and use of at least $7,297,970.00
80. ConocoPhillips has suffered damages in an amount no less than $7,297,970.00.

Defendant is without sufficient information to admit or deny the allegations contained in paragraph 79 &
80 of Plaintiff's Complaint. Those allegations are therefor denied.

81. The allegations contained in the preceding paragraphs are incorporated as if fully set forth herein. Same as S1

82. Defendants recurved benefit in the form of payment s from Conoco Phillips mad in reliance upon Defendants’
misrepresentations and fraud.

Defendant denies the allegations contained in paragraph 82 of Plaintiff's Complaint

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83.. These payments came at the expense of ConocoPhillips. ConocoPhillips received nothing of value in return for

- the payments.

84. It is unjust for defendants to retain the benefit of the payments, and they should be required to disgorge and

return the payments.

85. The allegations contained in the preceding paragraphs are incorporated as if fully set forth herein. Same as Si

86. Defendants DB Oilfield Support Services and Eco Edge executed binding contracts with ConocoPhillips
for the delivery and performance of goods and services.

87. ConocoPhillips by making payments to DB Oilfield Support Services and Eco Edgeupheld its end of the

bargain.

Defendant is without sufficient information to admit or deny the allegations contained in paragraph 83, 84.
86, & 87 of Plaintiff's Complaint. Those allegations are therefor denied.

88. Defendants did not perform under tht: contracts, and therefore breached those

Defendant denies the allegations contained in paragraph 88_ of Plaintiff's Complaint
89. The allegations contained in the preceding paragraphs are incorporated as if fully set forth herein. Same as S1

90. Any property interest defendants hold in the embezzled and/or fraudulently obtained funds, and any assets
maintained, purchased or obtained using the funds, is held unfairly.

91. Any property interest defendants hold in the embezzled and/or fraudulently obtained funds, and any assets
purchased or obtained using the embezzled funds, was obtained by unjust, unconscionable and unlawful means.

92. Any property interest defendants hold in the er:ibezzled and/or fraudulently obtained funds, and any assets
maintained, purchased or obtained using the embezzled funds rightly belongs to ConocoPhillips. ConocoPhillips has a
good equitable claim to any assets that can be found to have been received by defendants or obtained by them asa
result of the funds embezzled from ConocoPhillips.

93. A constructive trust should be placed over all property interests in the embezzledand/or fraudulently obtained funds
and all property interests maintained , purchased or obtained using embezzled and/or fraudulently obtained funds, and
title and ownership conveyed back to ConocoPhillips.

94. Under the circumstances it would be inequitable to allow defendants to retain embezzled and/or fraudulently
obtained funds from ConocoPhillips or any assets maintained, purchased or obtained with those funds. Therefore a
on structive trust should be imposed upon such fundsand assets in favor of ConocoPhillips as beneficiary.

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Case 3:19-cv-00311-SLG Document 50 Filed 02/27/20 Page 13 of 16
95. The allegations contained in the preceding paragraphs are incorporated as if fully set forth herein. Same as S1

96. The corporate forms of Eco Edge Armoring, and Wright Capital Investments were used to commit fraud

and perpetrate crimes.

97. All debts, obligations and assets of the corporate entities should be considered debts, obligations, and assets of

their individual owners.

Wherefore, plaintiff ConocoPhillips seeks the following relief:

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This court exercise its equitable powers and place a constructive trust over all assets
embezzled and/or fraudulently obtained from Col).ocoPhillips, and all assets
maintained , purchased or obtained with those embezzled and/or fraudulently
obtained funds from ConocoPhillips.

That this court immediately enter an injunction freezing all funds held by Defendants,
and forbidding defendants from selling, disposing or transferring any asset or making
any payment or fund transfer to any person or entity.

That this court enterjudgment against defendants.jointly and severally in an amount
to be proven at trial.

That ConocoPhillips be awarded triple damages under RICO.

That ConocoPhillips be awarded its full costs and attorney fees.

All other relief'as may be just and proper.

DATED this 12th day of December, 2019.

Defendant is without sufficient information to admit or deny the allegations contained in paragraph 96, 97
of Plaintiff's Complaint. Those allegations are therefor denied.

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STATE OF ALASKA

DAVID BENEFIELD
1489 EAST 2538 STREET SOUTH
WEBBERS FALLS, OKLAHOMA 74470

EMAIL-dbenefield58@hotmail.com
Phone number: 907-251-1217

All questions answered to the best of my knowledge

   
 
 

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Case 3:19-cv-00311-SLG Document 50 Filed 02/27/20 Page 15 of 16
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